      Case 4:14-cv-00539-O Document 15 Filed 09/23/14                Page 1 of 2 PageID 51


                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION
                        _____________________________________


FREDRIC RUSSEL MANCE, JR. et al.,

VS.                                                  Civil Action No. 4:14-CV-00539-O

ERIC HOLDER, ATTORNEY GENERAL
OF THE UNITED STATES, and B. TODD
JONES, DIRECTOR, BUREAU OF
ALCOHOL, TOBACCO, FIREARMS &
EXPLOSIVES


                     DEFENDANTS’ MOTION TO DISMISS, OR IN
                   THE ALTERNATIVE, FOR SUMMARY JUDGMENT

        Pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(6), and 56, Defendants

hereby move this Court to dismiss Plaintiffs’ First Amended Complaint, or, in the alternative, to

enter summary judgment for Defendants. In accordance with Local Rule 56.5, this motion is

accompanied by a brief that sets forth the arguments and authorities on which Defendants rely in

support of this motion. A proposed order also accompanies this motion.

                                           SUMMARY

        Defendants move the Court to dismiss this case under Fed. R. Civ. P. 12(b)(1) and

12(b)(6). In the alternative, Defendants move for summary judgment. At the outset, jurisdiction

is absent because Plaintiffs have not alleged any redressable injury-in-fact traceable to the

commercial firearms restrictions they are challenging. Moreover, the statute and regulation

challenged by Plaintiffs are “presumptively lawful” restrictions that “impos[e] conditions and

qualifications on the commercial sale of arms,” as described in District of Columbia v. Heller,

554 U.S. 570, 626-27 (2008). These laws impose no substantial burden on conduct that is
    Case 4:14-cv-00539-O Document 15 Filed 09/23/14                   Page 2 of 2 PageID 52


protected by the Second Amendment and would pass constitutional muster in any event.

Accordingly, the Court should dismiss the case or enter summary judgment for Defendants.

Dated: September 23, 2014                           Respectfully submitted,

                                                    JOYCE R. BRANDA
                                                    Acting Assistant Attorney General

                                                    SARAH R. SALDAÑA
                                                    United States Attorney

                                                      /s/ Lesley Farby
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                                 CERTIFICATE OF SERVICE

        On September 23, 2014, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic case

filing system of the court. I hereby certify that I have served all parties electronically or by

another manner authorized by Federal Rule of Civil Procedure 5(b)(2) or the local rules.


                                                                /s/ Lesley Farby
                                                               Lesley Farby
